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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 23-CV-23223-RAR

  JAMES H. WEAREN, et al.,

             Plaintiffs,

  v.

  X AUTO IMPORT AND EXPORT CORP., et al.,

        Defendants.
  __________________________________________/

                           ORDER REQUIRING JOINT SCHEDULING REPORT
                            AND CERTIFICATES OF INTERESTED PARTIES 1

             The parties are directed to prepare and file a joint scheduling report, as required by Local

  Rule 16.1, by October 6, 2023.               In addition, by October 6, 2023, the parties, including

  governmental parties, must file Certificates of Interested Parties and Corporate Disclosure

  Statements that contain a complete list of persons, associated persons, firms, partnerships, or

  corporations that have a financial interest in the outcome of this case, including subsidiaries,

  conglomerates, affiliates, parent corporations, and other identifiable legal entities related to a party.

  Throughout the pendency of the action, the parties are under a continuing obligation to amend,

  correct, and update the Certificates.

             DONE AND ORDERED in Miami, Florida, this 11th day of September, 2023.



                                                                   ________________________________
                                                                   RODOLFO A. RUIZ II
                                                                   UNITED STATES DISTRICT JUDGE




  1
       The parties must not include Judge Ruiz as an interested party unless he has an interest in the litigation.
